AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                              ____ FILED ___ ENTERED
                                                                for the                                        ____ LOGGED _____ RECEIVED

                                                       DistrictDistrict
                                                  __________    of Maryland
                                                                        of __________                          2:37 pm, Dec 16 2022
                                                                                                               AT BALTIMORE
                  United States of America                         )                                           CLERK, U.S. DISTRICT COURT
                             v.                                    )                                           DISTRICT OF MARYLAND
                                                                   )       Case No.                            BY ______________Deputy

                         Kevin Davis                               )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              June 2020 through April 2021      in the county of              Baltimore              in the
                       District of            Maryland         , the defendant(s) violated:

            Code Section                                                     Offense Description

18 U.S.C. § 1349                                 Wire Fraud Conspiracy




         This criminal complaint is based on these facts:




             Continued on the attached sheet.


                                                                                              Complainants signature

                                                                                  Jaclyn Bloomingdale, Special Agent, FBI
                                                                                               Printed name and title




Date:
                                                                                                 Judges signature

City and state:                      Baltimore, Maryland                    Matthew J. Maddox, United States Magistrate Judge
                                                                                               Printed name and title
